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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

MICHAEL STEVEN MOATES,                          §
         Plaintiff,                             §
                                                §
v.                                              §    C.A. NO. 6:22-CV-00626-ADA-JCM
                                                §
JOSEPH R. BIDEN, JR., et al.,                   §
          Defendants.                           §
                                                §


                        REPORT AND RECOMMENDATION OF
                      THE UNITED STATES MAGISTRATE JUDGE


TO:   THE HONORABLE ALAN D ALBRIGHT,
      UNITED STATES DISTRICT JUDGE

       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C.

§ 636(b)(1)(C), Fed. R. Civ. P. 72(b), and Rules 1(f) and 4(b) of Appendix C of the Local Rules

of the United States District Court for the Western District of Texas, Local Rules for the

Assignment of Duties to United States Magistrate Judges. Before the Court are Plaintiff’s Motion

to Proceed in forma pauperis (ECF No. 2). For the following reasons, the Court

RECOMMENDS that Plaintiff’s Motion be DENIED.

                                           I.    DISCUSSION

       The undersigned recommends denying Plaintiff’s Motion to Proceed in forma pauperis.

The Court may grant in forma pauperis status to an indigent litigant “who submits an affidavit

that includes a statement of all assets such [person] possesses that the person is unable to pay

such fees or give security therefor.” 28 U.S.C. § 1915(a)(1). The Court has limited discretion to

deny such an application based on the litigant’s financial information. Adkins v. E.I. Du Pont De

Nemours & Co., Inc., 335 U.S. 331, 337 (1948).


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        The Court must consider whether paying filing fees and court costs will cause undue

financial hardship. Prows v. Kastner, 842 F.2d 138, 140 (5th Cir. 1988). The Court must review

the litigant’s financial resources as well as expenses and whether those expenses are

discretionary or mandatory. Id. Courts may look to where the litigant’s reported income is in

relation to applicable poverty guidelines. See, e.g., Mann v. City of Moss Point, No. 1:14cv237–

KS–MTP, 2014 WL 4794544, at *2 (S.D. Miss. Sept. 25, 2014); Williams v. Louisiana, No. 14-

00154-BAJ-EWD, 2017 WL 3124332, at *2 (M.D. La. April 14, 2017); Bruton v. Colvin, No.

4:14–CV–083–A, 2014 WL 840993, at *1 (N.D. Tex. Mar. 4, 2014).

        Here, Plaintiff reports his monthly gross income to be $2,600. Mot. at 1. The applicable

poverty guideline for a family of one is $13,590. U.S. Department of Health & Human Services,

Office of the Assistant Secretary for Planning and Evaluation, U.S. Federal Poverty Guidelines

Used          to   Determine       Financial          Eligibility   for      Certain     Programs,

https://aspe.hhs.gov/topics/poverty-economic-mobility/poverty-guidelines (last visited June 29,

2022). Plaintiff’s annual household income totals $31,000, well above the poverty guideline for a

family of one. Further, Plaintiff indicates he has additional resources of $122 in a checking or

savings account. Mot. at 2. Thus, Plaintiff’s financial affidavit shows he has resources to pay the

filing fee.

                                           II.   CONCLUSION

        For the reasons discussed above, the Court RECOMMENDS that Plaintiff’s Motion to

Proceed in forma pauperis (ECF No. 2) be DENIED and that Plaintiff be ordered to pay the

filing and administrative fees within seven (7) days after the district judge’s order.




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                                        III.   OBJECTIONS

       The parties may wish to file objections to this Report and Recommendation. Parties filing

objections must specifically identify those findings or recommendations to which they object.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

U.S. Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings

and recommendations in the Report. See 28 U.S.C. § 636(b)(1)(C); Thomas v Arn, 474 U.S. 140,

150-53 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

Except upon grounds of plain error, failing to object shall further bar the party from appellate

review of unobjected-to proposed factual findings and legal conclusions accepted by the District

Court. See 28 U.S.C. § 636(b)(1)(C); Thomas, 474 U.S. at 150-53; Douglass, 79 F.3d at 1415.

SIGNED this 29th day of June, 2022.




                                    JEFFREY C. MANSKE
                                    UNITED STATES MAGISTRATE JUDGE




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